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Case 2:13-cr-06070-SAB ECFNo.9 filed 12/04/13 PagelD.9 Pagelof1

FILEO IN THE

UNITED STATES DISTRICT COURT EASTERN DiSTRIC oi eee
EASTERN DISTRICT OF WASHINGTON ASHINGTON
DEC - 4 2079
UNITED STATES OF AMERICA, ) SEAN F: McAVOY, CLERK
) ~~ YARIA, WASHINGT OE TY
Plaintiff, ) MJ-13-4363-1
)
vs. ) Defendant’s Assertion of
) Fifth and Sixth Amendment
KENNY ROWELL, ) Rights
)
Defendant. )
)

| TO: MICHAEL C. ORMSBY, UNITED STATES ATTORNEY

I, the above-named defendant, hereby assert my rights under the Fifth and Sixth Amendments of

the United States Constitution, including but not limited to my rights to remain silent and to have

counsel present at any and all of my interactions with the government or others acting on the
government’s behalf. I do not wish to, and will not, waive any of my constitutional rights except in the
presence of counsel. I do not wish to have, nor do I consent to, any contact with any government
official, including but not limited to law enforcement agents, except through my counsel. I do not want
the government or others acting on the government’s behalf to question me, or to contact me seeking a

waiver of any rights, unless my counsel is present. The Government should so instruct its agents.

DATED this¢f“day of __ Dee. _, 2013

Defendant’s Assertion of
Fifth and Sixth Amendment Rights
